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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
                                                   X
UNITED STATES OF AMERICA                                             ORDER OF SUSTENANCE



                                      Plaintiff,

       -V.

                                                                     CR 19-286(AMD)
ROBERT SYLVESTER KELLY
                                      Defendant.
                                                X


      ORDERED that the Marshal supply proper

( ) LODGING

(X)   SUSTENANCE

( ) TRANSPORTATION

      to the (17) jurors empaneled in the above entided case.

DATED: Brooklyn, New York
      September 17. 2021

() DURING TRIAL

() DELIBERATING

()SEQUESTERED

(X) LUNCH

0 OTHER
                                                                 s/Ann M. Donnelly
                                                                ANN M.DONNELLY           ^
                                                                UNITED STATES DISTRICTJUDOT
